TO:

FROM:

Date:

PROPOSED ORDER/COVER SHEET

 

Honorable Howard R. Lloyd RE: GARRETT, Rocci
U.S. Magistrate Judge
Roy Saenz, Chief Docket No.: 5:17-cr-00487-BLF

U.S. Pretrial Services Officer

October 24, 2017

THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

Diego Romero (408) 535-5230

 

U.S. Pretrial Services Officer TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

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] have reviewed the information that you have supplied. I do not believe that this matter requires any
action by this Court at this time.

Inform all parties concerned that [quill co: cy ht Review Hearing in Cquitrdom No.

Inform all parties concerned that a Bail Review Hearing will be conducted by:
Magistrate Judge Presiding District Court Judge

I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
Pretrial Release conditions as indicated below:

Modification(s)
A.
B. oe

Bail Revoked/Bench Warrant Issued.

I am returning the signed order and direct that a copy be provided to the Court file and all interested
parties;AUSA and Defense Counsel).

Other Instructions:

 

 

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JUDICIAL OFFICER \ DATE U /
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